UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

In Re:                                               Case No.: 1−19−11649−PRW
                                                     Chapter: 13
         Jamien L. Gaddis
                                                     SSN: xxx−xx−9833
                        Debtor(s)

Jamien L. Gaddis
10 Wayne Terrace
Unit 21
Cheektowaga, NY 14225
   Enclosed is your application to request payment for unclaimed funds. It is being returned to
you for the following reason(s):
• Form AO 213 Request for Vendor Information And TIN Certification was not signed. Please
  re−submit an original signed AO213 form to the Court to continue processing your request to
  release unclaimed funds.

    If you have any further questions, please call the Court at 716−362−3200.


Date: July 16, 2020                                 Lisa Bertino Beaser
                                                    Clerk of Court
Enclosures


Form dfyuncla/Doc 39
www.nywb.uscourts.gov




         Case 1-19-11649-PRW, Doc 39-2, Filed 07/16/20, Entered 07/16/20 11:47:30,
                        Description: Unclaimed Funds Defy, Page 1 of 1
